      Case 2:13-cr-00096-RHW            ECF No. 940         filed 06/04/15     PageID.3317 Page 1 of 2
PROB 12C                                                                                 Report Date: June 4, 2015
(7/93)

                                        United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Cambrea M. Bishop                        Case Number: 0980 2:13CR00096-WFN-16
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Name of Supervising Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Date of Original Sentence: September 24, 2013
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison 29 days; TSR - 36 days     Type of Supervision: Supervised Release
 Asst. U.S. Attorney:     Pamela J. Byerly                  Date Supervision Commenced: November 5, 2014
 Defense Attorney:        Roger Peven                       Date Supervision Expires: January 4, 2017


                                         PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Mandatory Condition # 4: The defendant shall refrain from any unlawful use of a
                        controlled substance. The defendant shall submit to one drug test within 15 days of release
                        from imprisonment and at least two periodic drug tests thereafter, as directed by the
                        probation officer.

                        Supporting Evidence: On May 28, 2015, Cambrea Bishop submitted a urine specimen at
                        Adept treatment facility, which was confirmed positive for Bupranorphine (suboxone).
                        Cambrea Bishop does not have a valid prescription for suboxone.
           2            Standard Condition # 5: The defendant shall work regularly at a lawful occupation unless
                        excused by the probation officer for schooling, training or other acceptable reasons.

                        Supporting Evidence: Cambrea Bishop has failed to secure employment since her release
                        from inpatient treatment that occurred on or about March 1, 2015.
           3            Special Condition # 17: You shall undergo a substance abuse evaluation and, if indicated
                        by a licensed/certified treatment provider, enter into and successfully complete an approved
                        substance abuse treatment program, which could include inpatient treatment and aftercare.
                        You shall contribute to the cost of treatment according to your ability to pay. You shall
                        allow full reciprocal disclosure between the supervising officer and treatment provider.
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